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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


                    State of New York, et al.                      )
                             Plaintiff                             )
                                v.                                 )      Case No.   18-cv-2921 (JMF)
          U.S. Department of Commerce, et al.                      )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants U.S. Department of Commerce, U.S. Census Bureau, Wilbur L. Ross, Steven Dillingham                       .


Date:
                                                                          JAMES GILLIGAN Digitally signed by JAMES GILLIGAN
                                                                                         Date: 2019.07.23 13:33:24 -04'00'
               07/23/2019
                                                                                            Attorney’s signature


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